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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

So ONY DWN BR WH HO we

10 || ENOVSYS LLC, Case No.: 2:11-CV-05210-SS

11 Plaintiff, VERDICT FORM

12 _S The Hon. Suzanne H. Segal

T&T MOBILITY LC d AT. .
13 MOBIL Yen LLC.” and AT&T | Trial Date: August 18, 2015

14 Defendants.
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AND RELATED COUNTERCLAIM

 

 

 

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VERDICT FORM
Instructions: When answering the following questions and filling out this
Verdict Form, please follow the directions provided throughout the form. Your
answer to each question must be unanimous. Some of the questions contain legal
terms that are defined and explained in detail in the Jury Instructions. Please refer to

the Jury Instructions if you are unsure about the meaning or usage of any legal term

‘|| that appears in the questions below.

* OK OK

We, the jury, unanimously agree to the answers to the following questions
and return them under the instructions of this Court as our verdict in this case.
FINDINGS ON INFRINGEMENT CLAIMS

The questions regarding infringement should be answered regardless of
your findings with respect to the invalidity of the patent. |
Infringement (Instructions at Page __)

U.S. Patent No. 6,560,461 (“the ‘461 patent”)

1. Did Enovsys prove by a preponderance of the evidence that AT&T

infringed the following claims of the ‘461 patent?

[A “yes” answer is for Enovsys; a “no” answer is for AT&T. ]

Claim 1 of the ‘461 patent Yes _———“‘ié«SNNOO Sf
Claim 11 of the ‘461 patent Yes_————CsCNN ZL
Claim 13 of the ‘461 patent Yes ——sSNo SL
Claim 28 of the ‘461 patent Yes sis A

U.S. Patent No. 7,925,273 (“the ‘273 patent”)
2. Did Enovsys prove by a preponderance of the evidence that AT&T

infringed Claim 1 of the ‘273 patent?

[A “yes” answer is for Enovsys; a “no” answer is for AT&T. ]

Yes No A

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1- FINDINGS ON INVALIDITY DEFENSES
2 The questions regarding invalidity should be answered regardless of your
3 || findings with respect to infringement.
4 || Anticipation (Instructions at Page __)
Si} The ‘461 patent
6 3. Has AT&T proven by clear and convincing evidence that the following
7|\ claims of the ‘461 patent were “anticipated?”
8 [A “yes” answer is for AT&T; a “no” answer is for Enovsys. |
9 Claim 1 of the ‘461 patent Yes i S No
10 Claim 11 of the ‘461 patent Yes SL No
1 Claim 13 of the ‘461 patent Yes No _
12 Claim 28 of the ‘461 patent Yes = No Y
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Statutory Bars (Instructions at Page __)
The ‘461 patent

4. Has AT&T proven by clear and convincing evidence that the following
claims of the ‘461 patent were not filed within the time required by law?

[A “yes” answer is for AT&T; a “no” answer is for Enovsys. |

 

Claim 1 of the ‘461 patent Yes Sf No
Claim 11 of the ‘461 patent Yes Sf No
Claim 13 of the ‘461 patent Yes SA. No

Claim 28 of the ‘461 patent Yes __—=—=——s No SY

Obviousness (Instructions at Page __)

The ‘461 patent
5. Did AT&T prove by clear and convincing evidence that the following

claims of the ‘461 patent were obvious?

[A “yes” answer is for AT&T; a “no” answer is for Enovsys.]

Claim 1 of the ‘461 patent Yes VY No

Claim 11 of the ‘461 patent Yes / No

Claim 13 of the ‘461 patent Yes S No

Claim 28 of the ‘461 patent Yes No SK
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Optional Questions

Only Answer Questions 6 or 7 If:
You found that at least one of the ‘461 patent claims was both infringed and
not invalid. In other words, for at least one claim:
| you answered “yes” to question 1 -
and

you answered “no” for that same claim to questions 3, 4, and 5.

FINDING ON WILFULNESS (IF APPLICABLE) (Instructions at Page _)

The ‘461 patent
6. Did Enovsys prove by clear and convincing evidence that AT&T knew,

or it was so obvious that AT&T should have known, that AT&T’s actions
infringed at least one of the claims of the ‘461 patent and that the infringed
claim(s) were valid?

[A “yes” answer is for Enovsys; a “no” answer is for AT&T. ]

Yes No

7. Did Enovsys prove by clear and convincing evidence that AT&T acted
with reckless disregard of at least one of the asserted claims of the ‘461 patent?
[A “yes” answer is for Enovsys; a “no” answer is for AT&T. ]

Yes No

You have now reached the end of the verdict form and should review it to —
ensure it accurately reflects your unanimous determinations. The Presiding Juror
should then sign and date the verdict form in the spaces below and notify the
marshal that you have reached a verdict. The Presiding Juror should retain
possession of the verdict form and bring it when the jury is brought back into the

courtroom.

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DATED: Agua 27 2015.

By:

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Presiding Juror

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